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 5   WENDELL PAYNE
 6

 7                           UNITED STATES DISTRICT COURT
 8                     SOUTHERN DISTRICT OF CALIFORNIA
 9

10   WENDELL PAYNE,                           Civil Action No. '13CV1996 WQHBGS
11                  Plaintiff,
12         vs.                                COMPLAINT AND DEMAND
13   PIONEER CREDIT RECOVERY, FOR JURY
14   INC.; and DOES 1 through 10,
15   inclusive,
16                  Defendants.
17

18                                       COMPLAINT
19                                  I.     INTRODUCTION
20         1. This is an action for actual and statutory damages brought by Plaintiff,
21   Wendell Payne, an individual consumer, against Defendant, Pioneer Credit
22   Recovery, Inc., for violations of the law, including, but not limited to, violations of
23   the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter
24   ‘‘FDCPA’’), which prohibits debt collectors from engaging in abusive, deceptive,
25   and unfair practices.


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                                          COMPLAINT
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 1                                   II.      JURISDICTION
 2         2. Jurisdiction of this court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C.
 3   § 1337. Declaratory relief is available pursuant to 28 U.S.C. §§ 2201 and 2202.
 4   Venue in this District is proper in that the Defendant transacts business here.
 5                                         III.    PARTIES
 6         3. Plaintiff, Wendell Payne, is a natural person with a permanent residence
 7   in San Diego, San Diego County, California 92103.
 8         4. Upon information and belief, the Defendant, Pioneer Credit Recovery,
 9   Inc., is a corporation engaged in the business of collecting debt in this state and in
10   several other states, with its principal place of business located at 26 Edward
11   Street, Arcade, Wyoming County, New York 14009. The principal purpose of
12   Defendant is the collection of debts in this state and several other states, and
13   Defendant regularly attempts to collect debts alleged to be due to another.
14         5. Defendant is engaged in the collection of debts from consumers using the
15   mail and telephone. Defendant is a ‘‘debt collector’’ as defined by the FDCPA, 15
16   U.S.C. § 1692a(6).
17                             IV.   FACTUAL ALLEGATIONS
18         6. The debt that Defendant is attempting to collect on is an alleged
19   obligation of a consumer to pay money arising out of a transaction in which the
20   money, property, insurance or services, which are the subject of the transaction, are
21   primarily for personal, family, or household purposes, whether or not such
22   obligation has been reduced to judgment.
23         7. Within one (1) year preceding the date of this Complaint, Defendant, in
24   connection with the collection of the alleged debt, attempted to communicate with
25



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                                           COMPLAINT
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 1   Plaintiff at their place of employment after being informed that this
 2   inconvenienced Plaintiff and/or was conduct prohibited by Plaintiff’s employer.
 3           8. The natural consequences of Defendant’s statements and actions were to
 4   unjustly condemn and vilify Plaintiff for his non-payment of the debt he allegedly
 5   owed.
 6           9. The natural consequences of Defendant’s statements and actions were to
 7   produce an unpleasant and/or hostile situation between Defendant and Plaintiff.
 8           10. The natural consequences of Defendant’s statements and actions were to
 9   cause Plaintiff mental distress.
10           11. Defendant utilized unfair and unconscionable means to collect on
11   Plaintiff’s alleged debt, by attempting to communicate with Plaintiff at his place of
12   employment after being informed that Plaintiff’s employer prohibited it.
13                            V.        FIRST CLAIM FOR RELIEF
14           12. Plaintiff repeats and realleges and incorporates by reference to the
15   foregoing paragraphs.
16           13. Defendants violated the FDCPA. Defendants’ violations include, but are
17   not limited to, the following:
18                 (a) Defendant violated §1692c(a)(1) of the FDCPA by communicating
19                    at a time or place known or which should be known to be
20                    inconvenient to the Plaintiff; and
21                 (b) Defendant violated §1692c(a)(3) of the FDCPA by communicating
22                    with the Plaintiff at the Plaintiff’s place of employment when the
23                    Defendant knew or had reason to know that the Plaintiff’s
24                    employer     prohibits   the     Plaintiff   from   receiving   such
25                    communication; and


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                                           COMPLAINT
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 1                 (c) Defendant violated §1692d of the FDCPA by engaging in conduct
 2                    that lead to the natural consequences of which is to harass, oppress,
 3                    or abuse any person in connection with the collection of an alleged
 4                    debt; and
 5                 (d) Defendant violated §1692f of the FDCPA by using unfair or
 6                    unconscionable means in connection with the collection of an
 7                    alleged debt.
 8
             14. Defendant’s acts as described above were done intentionally with the
 9
     purpose of coercing Plaintiff to pay the alleged debt.
10
             15. As a result of the foregoing violations of the FDCPA, Defendant is liable
11
     to the Plaintiff, Wendell Payne, for declaratory judgment that Defendant’s conduct
12
     violated the FDCPA, for actual damages, statutory damages, costs, and attorney
13
     fees.
14
                              VI.     SECOND CLAIM FOR RELIEF
15
             16. Plaintiff repeats and realleges and incorporates by reference to the
16
     foregoing paragraphs.
17
             17. Defendant violated the RFDCPA. Defendant’s violations include, but
18
     are not limited to the following:
19
                   (a) Defendant violated §1788.17 of the RFDCPA by being a debt
20
                      collector collecting or attempting to collect a consumer debt that is
21
                      not compliant with the provisions of Sections 1692b to 1692j of
22
                      the FDCPA, the references to federal codes in this section referring
23
                      to those codes as they read as of January 1, 2001.
24
             18. Defendant’s acts as described above were done intentionally with the
25
     purpose of coercing Plaintiff to pay the alleged debt.

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                                           COMPLAINT
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 1           19. As a result of the foregoing violations of the RFDCPA, Defendant is
 2   liable to the Plaintiff for actual damages, statutory damages, costs. and attorney
 3   fees.
 4           WHEREFORE, Plaintiff respectfully requests that judgment be entered
 5   against Defendant, Pioneer Credit Recovery, Inc., for the following:
 6           A. Declaratory judgment that Defendant’s conduct violated the FDCPA and
 7              RFDCPA.
 8           B. Actual damages.
 9           C. Statutory damages.
10           D. Costs and reasonable attorney fees.
11           E. Awarding Plaintiff any pre-judgment and post-judgment interest as may
12              be allowed under the law.
13           F. For such other and further relief as the Court may deem just and proper.
14                              DEMAND FOR JURY TRIAL
15           Please take notice that Plaintiff, Wendell Payne, demands trial by jury in this
16   action.
17

18                                             RESPECTFULLY SUBMITTED,
19     DATED: August 27, 2013                   PRICE LAW GROUP APC
20

21                                            By:/s/ G. Thomas Martin, III
                                                     G. Thomas Martin, III
22                                                   Attorney for Plaintiff
23

24

25



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                                            COMPLAINT
-6  5HY 
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                                                                            CIVIL COVER SHEET
7KH -6  FLYLO FRYHU VKHHW DQG WKH LQIRUPDWLRQ FRQWDLQHG KHUHLQ QHLWKHU UHSODFH QRU VXSSOHPHQW WKH ILOLQJ DQG VHUYLFH RI SOHDGLQJV RU RWKHU SDSHUV DV UHTXLUHG E\ ODZ H[FHSW DV
SURYLGHG E\ ORFDO UXOHV RI FRXUW 7KLV IRUP DSSURYHG E\ WKH -XGLFLDO &RQIHUHQFH RI WKH 8QLWHG 6WDWHV LQ 6HSWHPEHU  LV UHTXLUHG IRU WKH XVH RI WKH &OHUN RI &RXUW IRU WKH
SXUSRVH RI LQLWLDWLQJ WKH FLYLO GRFNHW VKHHW (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                              DEFENDANTS
WENDELL PAYNE,                                                                                               PIONEER CREDIT RECOVERY, INC.; and DOES 1 through 10,
                                                                                                             inclusive,

    (b) &RXQW\ RI 5HVLGHQFH RI )LUVW /LVWHG 3ODLQWLII             San Diego                                    &RXQW\ RI 5HVLGHQFH RI )LUVW /LVWHG 'HIHQGDQW
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                               127(     ,1 /$1' &21'(01$7,21 &$6(6 86( 7+( /2&$7,21 2)
                                                                                                                         7+( 75$&7 2) /$1' ,192/9('

    (c) $WWRUQH\V (Firm Name, Address, and Telephone Number)                                                    $WWRUQH\V (If Known)         '13CV1996 WQHBGS
G. Thomas Martin, III (SBN 218456)
Price Law Group, APC
15760 Ventura Blvd., #1100, Encino, CA 91436

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                            and One Box for Defendant)
u     86 *RYHUQPHQW                u      )HGHUDO 4XHVWLRQ                                                                     PTF           DEF                                           PTF      DEF
         3ODLQWLII                              (U.S. Government Not a Party)                        &LWL]HQ RI 7KLV 6WDWH         u            u        ,QFRUSRUDWHG or 3ULQFLSDO 3ODFH      u       u 
                                                                                                                                                             RI %XVLQHVV ,Q 7KLV 6WDWH

u     86 *RYHUQPHQW                u      'LYHUVLW\                                              &LWL]HQ RI $QRWKHU 6WDWH          u         u       ,QFRUSRUDWHG and 3ULQFLSDO 3ODFH     u       u 
         'HIHQGDQW                              (Indicate Citizenship of Parties in Item III)                                                                 RI %XVLQHVV ,Q $QRWKHU 6WDWH

                                                                                                     &LWL]HQ RU 6XEMHFW RI D           u         u       )RUHLJQ 1DWLRQ                       u       u 
                                                                                                       )RUHLJQ &RXQWU\
IV. NATURE OF SUIT (Place an “X” in One Box Only)
           CONTRACT                                             TORTS                                    FORFEITURE/PENALTY                           BANKRUPTCY                     OTHER STATUTES
u    ,QVXUDQFH                        PERSONAL INJURY                PERSONAL INJURY              u  'UXJ 5HODWHG 6HL]XUH             u  $SSHDO  86&             u    )DOVH &ODLPV $FW
u    0DULQH                       u    $LUSODQH                 u  3HUVRQDO ,QMXU\               RI 3URSHUW\  86&            u  :LWKGUDZDO                   u    6WDWH 5HDSSRUWLRQPHQW
u    0LOOHU $FW                   u    $LUSODQH 3URGXFW               3URGXFW /LDELOLW\        u  2WKHU                                   86&                    u    $QWLWUXVW
u    1HJRWLDEOH ,QVWUXPHQW                 /LDELOLW\               u  +HDOWK &DUH                                                                                       u    %DQNV DQG %DQNLQJ
u    5HFRYHU\ RI 2YHUSD\PHQW      u    $VVDXOW /LEHO                 3KDUPDFHXWLFDO                                                    PROPERTY RIGHTS                  u    &RPPHUFH
           (QIRUFHPHQW RI -XGJPHQW            6ODQGHU                       3HUVRQDO ,QMXU\                                                 u  &RS\ULJKWV                   u    'HSRUWDWLRQ
u    0HGLFDUH $FW                 u    )HGHUDO (PSOR\HUV¶             3URGXFW /LDELOLW\                                               u  3DWHQW                       u    5DFNHWHHU ,QIOXHQFHG DQG
u    5HFRYHU\ RI 'HIDXOWHG                 /LDELOLW\               u  $VEHVWRV 3HUVRQDO                                               u  7UDGHPDUN                            &RUUXSW 2UJDQL]DWLRQV
        6WXGHQW /RDQV                u    0DULQH                         ,QMXU\ 3URGXFW                                                                                     u    &RQVXPHU &UHGLW
        ([FOXGHV 9HWHUDQV          u    0DULQH 3URGXFW                 /LDELOLW\                              LABOR                        SOCIAL SECURITY                u    &DEOH6DW 79
u    5HFRYHU\ RI 2YHUSD\PHQW               /LDELOLW\                PERSONAL PROPERTY             u    )DLU /DERU 6WDQGDUGV           u    +,$ II               u    6HFXULWLHV&RPPRGLWLHV
        RI 9HWHUDQ¶V %HQHILWV        u    0RWRU 9HKLFOH            u  2WKHU )UDXG                       $FW                           u    %ODFN /XQJ                    ([FKDQJH
u    6WRFNKROGHUV¶ 6XLWV          u    0RWRU 9HKLFOH            u  7UXWK LQ /HQGLQJ         u    /DERU0DQDJHPHQW               u    ',:&',:: J         u    2WKHU 6WDWXWRU\ $FWLRQV
u    2WKHU &RQWUDFW                       3URGXFW /LDELOLW\        u  2WKHU 3HUVRQDO                    5HODWLRQV                     u    66,' 7LWOH ;9,             u    $JULFXOWXUDO $FWV
u    &RQWUDFW 3URGXFW /LDELOLW\   u    2WKHU 3HUVRQDO                 3URSHUW\ 'DPDJH          u    5DLOZD\ /DERU $FW              u    56, J               u    (QYLURQPHQWDO 0DWWHUV
u    )UDQFKLVH                            ,QMXU\                   u  3URSHUW\ 'DPDJH          u    )DPLO\ DQG 0HGLFDO                                                u    )UHHGRP RI ,QIRUPDWLRQ
                                     u    3HUVRQDO ,QMXU\               3URGXFW /LDELOLW\                 /HDYH $FW                                                                $FW
                                             0HGLFDO 0DOSUDFWLFH                                     u    2WKHU /DERU /LWLJDWLRQ                                            u    $UELWUDWLRQ
        REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS            u    (PSOR\HH 5HWLUHPHQW              FEDERAL TAX SUITS                u    $GPLQLVWUDWLYH 3URFHGXUH
u    /DQG &RQGHPQDWLRQ            u    2WKHU &LYLO 5LJKWV         Habeas Corpus:                       ,QFRPH 6HFXULW\ $FW            u  7D[HV 86 3ODLQWLII                $FW5HYLHZ RU $SSHDO RI
u    )RUHFORVXUH                  u    9RWLQJ                   u  $OLHQ 'HWDLQHH                                                         RU 'HIHQGDQW                       $JHQF\ 'HFLVLRQ
u    5HQW /HDVH (MHFWPHQW         u    (PSOR\PHQW               u  0RWLRQV WR 9DFDWH                                               u  ,56²7KLUG 3DUW\              u    &RQVWLWXWLRQDOLW\ RI
u    7RUWV WR /DQG                u    +RXVLQJ                       6HQWHQFH                                                                86&                          6WDWH 6WDWXWHV
u    7RUW 3URGXFW /LDELOLW\               $FFRPPRGDWLRQV           u  *HQHUDO
u    $OO 2WKHU 5HDO 3URSHUW\      u    $PHU Z'LVDELOLWLHV    u  'HDWK 3HQDOW\                  IMMIGRATION
                                             (PSOR\PHQW                 Other:                       u  1DWXUDOL]DWLRQ $SSOLFDWLRQ
                                     u    $PHU Z'LVDELOLWLHV    u  0DQGDPXV 2WKHU           u  2WKHU ,PPLJUDWLRQ
                                             2WKHU                    u  &LYLO 5LJKWV                   $FWLRQV
                                     u    (GXFDWLRQ                u  3ULVRQ &RQGLWLRQ
                                                                      u  &LYLO 'HWDLQHH 
                                                                            &RQGLWLRQV RI
                                                                            &RQILQHPHQW
V. ORIGIN (Place an “X” in One Box Only)
u  2ULJLQDO             u  5HPRYHG IURP                 u          5HPDQGHG IURP             u  5HLQVWDWHG RU       u  7UDQVIHUUHG IURP               u  0XOWLGLVWULFW
    3URFHHGLQJ               6WDWH &RXUW                              $SSHOODWH &RXUW               5HRSHQHG                $QRWKHU 'LVWULFW                   /LWLJDWLRQ
                                                                                                                                (specify)
                                          &LWH WKH 86 &LYLO 6WDWXWH XQGHU ZKLFK \RX DUH ILOLQJ (Do not cite jurisdictional statutes unless diversity)
                                          15 U.S.C. § 1692 et seq.
VI. CAUSE OF ACTION %ULHI GHVFULSWLRQ RI FDXVH
                                          Unlawful Debt Collection Practices Act
VII. REQUESTED IN     u &+(&. ,) 7+,6 ,6 $ CLASS ACTION   DEMAND $                                                                                     &+(&. <(6 RQO\ LI GHPDQGHG LQ FRPSODLQW
     COMPLAINT:          81'(5 58/(  )5&Y3     according to                                                              proof                  JURY DEMAND:         u <HV     u 1R
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               -8'*(                                                                                                '2&.(7 180%(5
'$7(                                                                     6,*1$785( 2) $77251(< 2) 5(&25'
08/27/2013                                                              /s/ G. Thomas Martin, III
FOR OFFICE USE ONLY

    5(&(,37                       $02817                                     $33/<,1* ,)3                                      -8'*(                              0$* -8'*(
                 Case 3:13-cv-01996-WQH-BGS Document 1 Filed 08/27/13 PageID.7 Page 7 of 7
-6  5HYHUVH 5HY 


                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                                $XWKRULW\ )RU &LYLO &RYHU 6KHHW

7KH -6  FLYLO FRYHU VKHHW DQG WKH LQIRUPDWLRQ FRQWDLQHG KHUHLQ QHLWKHU UHSODFHV QRU VXSSOHPHQWV WKH ILOLQJV DQG VHUYLFH RI SOHDGLQJ RU RWKHU SDSHUV DV
UHTXLUHG E\ ODZ H[FHSW DV SURYLGHG E\ ORFDO UXOHV RI FRXUW 7KLV IRUP DSSURYHG E\ WKH -XGLFLDO &RQIHUHQFH RI WKH 8QLWHG 6WDWHV LQ 6HSWHPEHU  LV
UHTXLUHG IRU WKH XVH RI WKH &OHUN RI &RXUW IRU WKH SXUSRVH RI LQLWLDWLQJ WKH FLYLO GRFNHW VKHHW &RQVHTXHQWO\ D FLYLO FRYHU VKHHW LV VXEPLWWHG WR WKH &OHUN RI
&RXUW IRU HDFK FLYLO FRPSODLQW ILOHG 7KH DWWRUQH\ ILOLQJ D FDVH VKRXOG FRPSOHWH WKH IRUP DV IROORZV

I.(a)    Plaintiffs-Defendants. (QWHU QDPHV ODVW ILUVW PLGGOH LQLWLDO RI SODLQWLII DQG GHIHQGDQW ,I WKH SODLQWLII RU GHIHQGDQW LV D JRYHUQPHQW DJHQF\ XVH
         RQO\ WKH IXOO QDPH RU VWDQGDUG DEEUHYLDWLRQV ,I WKH SODLQWLII RU GHIHQGDQW LV DQ RIILFLDO ZLWKLQ D JRYHUQPHQW DJHQF\ LGHQWLI\ ILUVW WKH DJHQF\ DQG
         WKHQ WKH RIILFLDO JLYLQJ ERWK QDPH DQG WLWOH
  (b)    County of Residence. )RU HDFK FLYLO FDVH ILOHG H[FHSW 86 SODLQWLII FDVHV HQWHU WKH QDPH RI WKH FRXQW\ ZKHUH WKH ILUVW OLVWHG SODLQWLII UHVLGHV DW WKH
         WLPH RI ILOLQJ ,Q 86 SODLQWLII FDVHV HQWHU WKH QDPH RI WKH FRXQW\ LQ ZKLFK WKH ILUVW OLVWHG GHIHQGDQW UHVLGHV DW WKH WLPH RI ILOLQJ 127( ,Q ODQG
         FRQGHPQDWLRQ FDVHV WKH FRXQW\ RI UHVLGHQFH RI WKH GHIHQGDQW LV WKH ORFDWLRQ RI WKH WUDFW RI ODQG LQYROYHG
  (c)    Attorneys. (QWHU WKH ILUP QDPH DGGUHVV WHOHSKRQH QXPEHU DQG DWWRUQH\ RI UHFRUG ,I WKHUH DUH VHYHUDO DWWRUQH\V OLVW WKHP RQ DQ DWWDFKPHQW QRWLQJ
         LQ WKLV VHFWLRQ VHH DWWDFKPHQW 

II.      Jurisdiction. 7KH EDVLV RI MXULVGLFWLRQ LV VHW IRUWK XQGHU 5XOH D )5&Y3 ZKLFK UHTXLUHV WKDW MXULVGLFWLRQV EH VKRZQ LQ SOHDGLQJV 3ODFH DQ ;
         LQ RQH RI WKH ER[HV ,I WKHUH LV PRUH WKDQ RQH EDVLV RI MXULVGLFWLRQ SUHFHGHQFH LV JLYHQ LQ WKH RUGHU VKRZQ EHORZ
         8QLWHG 6WDWHV SODLQWLII  -XULVGLFWLRQ EDVHG RQ  86&  DQG  6XLWV E\ DJHQFLHV DQG RIILFHUV RI WKH 8QLWHG 6WDWHV DUH LQFOXGHG KHUH
         8QLWHG 6WDWHV GHIHQGDQW  :KHQ WKH SODLQWLII LV VXLQJ WKH 8QLWHG 6WDWHV LWV RIILFHUV RU DJHQFLHV SODFH DQ ; LQ WKLV ER[
         )HGHUDO TXHVWLRQ  7KLV UHIHUV WR VXLWV XQGHU  86&  ZKHUH MXULVGLFWLRQ DULVHV XQGHU WKH &RQVWLWXWLRQ RI WKH 8QLWHG 6WDWHV DQ DPHQGPHQW
         WR WKH &RQVWLWXWLRQ DQ DFW RI &RQJUHVV RU D WUHDW\ RI WKH 8QLWHG 6WDWHV ,Q FDVHV ZKHUH WKH 86 LV D SDUW\ WKH 86 SODLQWLII RU GHIHQGDQW FRGH WDNHV
         SUHFHGHQFH DQG ER[  RU  VKRXOG EH PDUNHG
         'LYHUVLW\ RI FLWL]HQVKLS  7KLV UHIHUV WR VXLWV XQGHU  86&  ZKHUH SDUWLHV DUH FLWL]HQV RI GLIIHUHQW VWDWHV :KHQ %R[  LV FKHFNHG WKH
         FLWL]HQVKLS RI WKH GLIIHUHQW SDUWLHV PXVW EH FKHFNHG. 6HH 6HFWLRQ ,,, EHORZ; NOTE: federal question actions take precedence over diversity
         cases.

III.     Residence (citizenship) of Principal Parties. 7KLV VHFWLRQ RI WKH -6  LV WR EH FRPSOHWHG LI GLYHUVLW\ RI FLWL]HQVKLS ZDV LQGLFDWHG DERYH 0DUN WKLV
         VHFWLRQ IRU HDFK SULQFLSDO SDUW\

IV.      Nature of Suit. 3ODFH DQ ; LQ WKH DSSURSULDWH ER[ ,I WKH QDWXUH RI VXLW FDQQRW EH GHWHUPLQHG EH VXUH WKH FDXVH RI DFWLRQ LQ 6HFWLRQ 9, EHORZ LV
         VXIILFLHQW WR HQDEOH WKH GHSXW\ FOHUN RU WKH VWDWLVWLFDO FOHUNV LQ WKH $GPLQLVWUDWLYH 2IILFH WR GHWHUPLQH WKH QDWXUH RI VXLW ,I WKH FDXVH ILWV PRUH WKDQ
         RQH QDWXUH RI VXLW VHOHFW WKH PRVW GHILQLWLYH

V.       Origin. 3ODFH DQ ; LQ RQH RI WKH VL[ ER[HV
         2ULJLQDO 3URFHHGLQJV  &DVHV ZKLFK RULJLQDWH LQ WKH 8QLWHG 6WDWHV GLVWULFW FRXUWV
         5HPRYHG IURP 6WDWH &RXUW  3URFHHGLQJV LQLWLDWHG LQ VWDWH FRXUWV PD\ EH UHPRYHG WR WKH GLVWULFW FRXUWV XQGHU 7LWOH  86& 6HFWLRQ 
         :KHQ WKH SHWLWLRQ IRU UHPRYDO LV JUDQWHG FKHFN WKLV ER[
         5HPDQGHG IURP $SSHOODWH &RXUW  &KHFN WKLV ER[ IRU FDVHV UHPDQGHG WR WKH GLVWULFW FRXUW IRU IXUWKHU DFWLRQ 8VH WKH GDWH RI UHPDQG DV WKH ILOLQJ
         GDWH
         5HLQVWDWHG RU 5HRSHQHG  &KHFN WKLV ER[ IRU FDVHV UHLQVWDWHG RU UHRSHQHG LQ WKH GLVWULFW FRXUW 8VH WKH UHRSHQLQJ GDWH DV WKH ILOLQJ GDWH
         7UDQVIHUUHG IURP $QRWKHU 'LVWULFW  )RU FDVHV WUDQVIHUUHG XQGHU 7LWOH  86& 6HFWLRQ D 'R QRW XVH WKLV IRU ZLWKLQ GLVWULFW WUDQVIHUV RU
         PXOWLGLVWULFW OLWLJDWLRQ WUDQVIHUV
         0XOWLGLVWULFW /LWLJDWLRQ  &KHFN WKLV ER[ ZKHQ D PXOWLGLVWULFW FDVH LV WUDQVIHUUHG LQWR WKH GLVWULFW XQGHU DXWKRULW\ RI 7LWOH  86& 6HFWLRQ 
         :KHQ WKLV ER[ LV FKHFNHG GR QRW FKHFN  DERYH

VI.      Cause of Action. 5HSRUW WKH FLYLO VWDWXWH GLUHFWO\ UHODWHG WR WKH FDXVH RI DFWLRQ DQG JLYH D EULHI GHVFULSWLRQ RI WKH FDXVH Do not cite jurisdictional
         statutes unless diversity. ([DPSOH 86 &LYLO 6WDWXWH  86&  %ULHI 'HVFULSWLRQ 8QDXWKRUL]HG UHFHSWLRQ RI FDEOH VHUYLFH

VII.     Requested in Complaint. &ODVV $FWLRQ 3ODFH DQ ; LQ WKLV ER[ LI \RX DUH ILOLQJ D FODVV DFWLRQ XQGHU 5XOH  )5&Y3
         'HPDQG ,Q WKLV VSDFH HQWHU WKH DFWXDO GROODU DPRXQW EHLQJ GHPDQGHG RU LQGLFDWH RWKHU GHPDQG VXFK DV D SUHOLPLQDU\ LQMXQFWLRQ
         -XU\ 'HPDQG &KHFN WKH DSSURSULDWH ER[ WR LQGLFDWH ZKHWKHU RU QRW D MXU\ LV EHLQJ GHPDQGHG

VIII. Related Cases. 7KLV VHFWLRQ RI WKH -6  LV XVHG WR UHIHUHQFH UHODWHG SHQGLQJ FDVHV LI DQ\ ,I WKHUH DUH UHODWHG SHQGLQJ FDVHV LQVHUW WKH GRFNHW
      QXPEHUV DQG WKH FRUUHVSRQGLQJ MXGJH QDPHV IRU VXFK FDVHV

Date and Attorney Signature. 'DWH DQG VLJQ WKH FLYLO FRYHU VKHHW
